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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
JUAN IGARTUA, on behalf of himself and
all others similarly situated,                         Case No.: 1:24-cv-06381

                    Plaintiff,
                                                       MOTION FOR DEFAULT
               v.
                                                       JUDGMENT AND
STOOPS NYC IP LLC,                                     PERMANENT INJUNCTION

                     Defendant.




       PLEASE TAKE NOTICE that Plaintiff Juan Igartua, pursuant to Federal Rules

of Civil Procedure 55(b) moves this Court for a default judgment and permanent

injunction against Defendant STOOPS NYC IP LLC. The grounds for this motion are set

forth in the accompanying Affirmation in Support and Memorandum of Law.



Dated: February 19, 2025
       New York, New York




                                                  _______________________
                                                  Arjeta Albani, Esq.
                                                  Joseph & Norinsberg, LLC
                                                  Attorney for Plaintiff
                                                  110 East 59th Street, Suite 2300
                                                  New York, NY 10022
                                                  (212) 227-5700
                                                  arjeta@norinsberglaw.com
